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  8                      UNITED STATES DISTRICT COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA
 10
 11   JOHN D. THOMAS,                       ) Case No. 8:20-cv-00674 JLS (ADSx)
                                            )
 12                Plaintiff,               )
                                            ) ORDER OF DISMISSAL WITH
 13         vs.                             ) PREJUDICE
 14                                         )
      BMW FINANCIAL SERVICES NA,            )
      LLC, a Delaware limited liability
 15   company; BMW OF NORTH                 )
      AMERICA, INC., a Delaware             )
 16   corporation; EQUIFAX, INC., a Georgia )
      corporation; TRANSUNION CORP., a )
 17   Delaware corporation; EXPERIAN        )
      DATA CORP., A Delaware corporation, )
 18   and DOES 1 through 25, inclusive.     )
                                            )
 19                Defendants.              )
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  1                    ORDER OF DISMISSAL WITH PREJUDICE
  2           Pursuant to stipulation, IT IS HEREBY ORDERED that as to defendants
  3   BMW Financial Services NA, LLC, BMW of North America, LLC, and Equifax
  4   Information Services, LLC (erroneously named as Equifax, Inc.), the above-
  5   captioned action and all claims asserted therein are dismissed with prejudice pursuant
  6   to Federal Rule of Civil Procedure 41(a)(1). The parties shall each bear their own
  7   attorney’s fees and costs.
  8           IT IS SO ORDERED.
  9
                                               JOSEPHINE L. STATON
 10   Dated: October 21, 2020
                                             HONORABLE JOSEPHINE L. STATON
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